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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA


    UNITED STATES OF AMERICA,
                    Plaintiff,
                                                                  CASE NO: 4:16CR3005
           vs.

    RICKY AMADOR,                                                  DETENTION ORDER
                           Defendant.

        The defendant is charged with a drug crime under the Controlled Substances Act (21 U.S.C. § 801
et seq.), for which the defendant could be required to serve ten or more years in prison. On the
government's motion, the court afforded the defendant an opportunity for a detention hearing under the
Bail Reform Act, 18 U.S.C. § 3142(f). The court concludes the defendant must be detained pending trial.

        There is a rebuttable presumption that no condition or combination of conditions of release will
reasonably assure the defendant’s appearance at court proceedings and the safety of the community
because there is probable cause to believe the defendant committed a drug crime under the Controlled
Substances Act (21 U.S.C. § 801 et seq.), for which the defendant could be required to serve ten or more
years in prison. The defendant has not rebutted this presumption.
       Based on the information of record, the court finds by a preponderance of the evidence that the
defendant's release would pose a risk of nonappearance at court proceedings, and by clear and convincing
evidence that the defendant's release would pose a risk of harm to the public
        Specifically, the court finds that the defendant has a criminal record which includes a history of
violent crimes and a propensity to violate the law and court orders; has a propensity to harm or threaten
harm to others; lacks a stable employment history; has a substantial history of failing to appear for court
proceedings; waived the right to a detention hearing; and conditions which restrict Defendant’s travel,
personal contacts, and possession of drugs, alcohol, and/or firearms; require reporting, education,
employment, or treatment; or monitor Defendant’s movements or conduct; or any combination of these
conditions or others currently proposed or available (see 18 U.S.C. § 3142(c)), will not sufficiently
ameliorate the risks posed if the defendant is released.
                                     Directions Regarding Detention
        The defendant is committed to the custody of the Attorney General or a designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or held in custody pending appeal. The defendant must be afforded a reasonable
opportunity to consult privately with defense counsel. On order of the United States Court or on request
of an attorney for the Government, the person in charge of the corrections facility must deliver the
defendant to the United States marshal for a court appearance.

    Dated March 31, 2016.
                                                         BY THE COURT:
                                                         s/ Cheryl R. Zwart
                                                         United States Magistrate Judge
